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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Lori Saroya,                                   Case No. 24-cv-110 (DWF/DTS)

      Plaintiff,

v.                                             ORDER

CAIR Foundation, Inc.,

      Defendant.


      The parties filed a stipulation, Dkt. No. 16, to give defendant an extension of time

to Answer the Complaint. IT IS HEREBY ORDERED: Defendant shall Answer or

otherwise respond to the Complaint on or before March 7, 2024.


Dated: February 2, 2024                        _s/David T. Schultz_____
                                               DAVID T. SCHULTZ
                                               U.S. Magistrate Judge
